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 1                                 UNITED STATES DISTRICT COURT
 2                                       DISTRICT OF NEVADA
 3                                                  ***
 4    VANGUARD DEALER SERVICES,                                 Case No. 2:21-cv-01121-JAD-EJY
      LLC and MOTOR DEALER SERVICES
 5    GROUP, LLC,
                                                                             ORDER
 6                   Plaintiffs,
 7          v.
 8    JORGE CERVANTES, CEC, LLC d/b/a
      DEALER DIRECT SYSTEMS and/or
 9    DEALER DIRECT CONSULTANTS,
      ROBERT KONZEN,
10
                     Defendants.
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12          Pending before the Court is a Stipulation entered into by and between Plaintiffs Vanguard
13   Dealer Services, LLC and Motor Dealer Services Group, LLC on the one hand, and Defendants
14   Jorge Cervantes and CEC Industries, Inc. on the other hand. ECF No. 50. Defendant Robert Konzen,
15   a named defendant, is not a party to the instant Stipulation. Id. Konzen previously filed a Joint
16   Motion seeking to excuse compliance with Local Rule 26-1 pending the outcome of his Motion to
17   Dismiss. ECF No. 39. Plaintiffs Vanguard Dealer Services, LLC and Motor Dealer Services Group,
18   LLC were parties to the Joint Motion, which stated, in conclusion: “the Parties respectfully request
19   that the Court stay discovery until dispositive motions are decided.” Id. at 4. The Court granted the
20   Joint Motion staying discovery and ordering the parties to “file a status report no later than ten (10)
21   days after the pending dispositive motions or motions to change venue are denied in whole or in part
22   such that this dispute remains with the U.S. District Court for the District of Nevada. The status
23   report shall advise what issue remains before the Court and propose a discovery plan and scheduling
24   order regarding the same.” ECF No. 42.
25          The present stipulation appears to seek to extend the stay of discovery granted in ECF No.
26   42 to Defendants Cervantes and CEC Industries. Neither the current stipulation in which Plaintiffs
27   join (ECF No. 50) nor the prior stipulation in which Plaintiffs joined (ECF No. 39) address Plaintiffs’
28   pending Motion for Jurisdictional Discovery (ECF No. 38). The Court is unclear whether Plaintiffs
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 1   are withdrawing their Motion for Jurisdictional Discovery, declaring the Motion moot or, despite

 2   agreeing to two stays of discovery, continue to seek resolution of their Motion seeking discovery.

 3          Accordingly, IT IS HEREBY ORDERED that Plaintiffs and Defendant[s] Jorge Cervantes

 4   and CEC Industries, Inc.’s Stipulation and Order to Stay Discovery Pending Decision on

 5   Defendants’ Motion to Dismiss (ECF No. 50) is DENIED without prejudice.

 6          IT IS FURTHER ORDERED that Plaintiffs and Defendants Jorge Cervantes and CEC

 7   Industries, Inc. may file a revised stipulation and proposed order seeking to stay discovery that makes

 8   clear whether the pending Motion for Jurisdiction Discovery is withdrawn and, if not, how the stay

 9   of discovery requested is limited or impacted by Plaintiffs’ pending Motion seeking jurisdictional

10   discovery.

11          Dated this 15th day of November, 2021.

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                                                           ELAYNA J. YOUCHAH
14                                                         UNITED STATES MAGISTRATE JUDGE
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